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                                    DISTRICT OF NEVADA

UNITED STATES OF AMERICA                  )      CASE NO.3:09-cv-314-LRH-W GC
                                          )
       Plaintiff,                         )      ORDER
                                          )                                Fjun                  jja sw,
vs.                                       )                                EWERED                SERVEOON
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TI4E STATE OFNEVADA,and                   )
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       Defendant.                         )                                  nlsTRl
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       Thiscmse is currently scheduled fortrialon the stacked calendarof M av 8.2012.

      IT IS O RD ERED thatthiscase isreferred to n ellonorableW illiam G .Cobb forthepurpose
ofconducting a settlem entconference.

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                                                                coll   .




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                                                 LARRY R.HICKS
                                                 U .S.DISTRICT JUDGE




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